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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 Heather Coryell, individually and on behalf of all others
 similarly situated,                                                    Case No.
                                         Plaintiff,
                                                                         CLASS ACTION COMPLAINT

                                                                          DEMAND FOR JURY TRIAL




        -v.-
 Convergent Outsourcing, Inc.
 and John Does 1-25,
                                       Defendants.


       Plaintiff Heather Coryell (hereinafter, “Plaintiff”), an Florida resident, brings this Class

Action Complaint by and through her attorneys, Zeig Law firm, LLC, against Defendant Convergent

Outsourcing, Inc. (hereinafter “Defendant Convergent”), individually and on behalf of a class of all

others similarly situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure, based upon

information and belief of Plaintiff’s counsel, except for allegations specifically pertaining to

Plaintiff, which are based upon Plaintiff's personal knowledge.



                      INTRODUCTION/PRELIMINARY STATEMENT

       1.      Congress enacted the Fair Debt Collection Practices Act (“The FDCPA” or “The

   Act”) in 1977 in response to the "abundant evidence of the use of abusive, deceptive, and unfair

   debt collection practices by many debt collectors." 15 U.S.C. §1692(a). At that time, Congress

   was concerned that "abusive debt collection practices contribute to the number of personal

   bankruptcies, to material instability, to the loss of jobs, and to invasions of individual privacy."


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 Id. Congress concluded that "existing laws…[we]re inadequate to protect consumers," and that

 "'the effective collection of debts" does not require "misrepresentation or other abusive debt

 collection practices." 15 U.S.C. §§ 1692(b) & (c).

    2.      Congress explained that the purpose of the Act was not only to eliminate abusive

 debt collection practices, but also to "insure that those debt collectors who refrain from using

 abusive debt collection practices are not competitively disadvantaged." Id. § 1692(e). After

 determining that the existing consumer protection laws ·were inadequate. Id. § 1692(b),

 Congress gave consumers a private cause of action against debt collectors who fail to comply

 with the Act. Id. § 1692k.

                                JURISDICTION AND VENUE

    3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

 15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over the state law claims in this

 action pursuant to 28 U.S.C. § 1367(a).

    4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

 where a substantial part of the events or omissions giving rise to the claim occurred.

                                   NATURE OF THE ACTION

    5.      Plaintiff brings this class action on behalf of a class of Florida consumers under §

 1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

 Collections Practices Act ("FDCPA"), and

    6.      Plaintiff is seeking damages and declaratory relief.



                                            PARTIES
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    7.      Plaintiff is a resident of the State of Florida, County of Hillsborough, residing at 916

 Delaney Circle, Apt. 203, Brandon, FL 33511.

    8.      Defendant Convergent is a "debt collector" as the phrase is defined in 15 U.S.C.

 § 1692(a)(6) and used in the FDCPA with an address at 800 SW 39th Street, Suite #100, Renton,

 WA 95805 and can be served upon their registered agent, C T Corporation System 1200 South

 Pine Island Road, Plantation FL33324.

    9.      Upon information and belief, Defendant Convergent is a company that uses the mail,

 telephone, and facsimile and regularly engage in business the principal purpose of which is to

 attempt to collect debts alleged to be due another.

    10.     John Does l-25, are fictitious names of individuals and businesses alleged for the

 purpose of substituting names of Defendants whose identities will be disclosed in discovery and

 should be made parties to this action.

                                     CLASS ALLEGATIONS

    11.     Plaintiff brings this claim on behalf of the following case, pursuant to Fed. R. Civ.

 P. 23(a) and 23(b)(3).

    12.     The Class consists of:

            a. all individuals with addresses in the State of Florida;

            b. to whom Defendant Convergent sent a collection letter attempting to collect a

                consumer debt;

            c. regarding collection of a debt;

            d. that included deceptive language regarding a settlement;

            e. which letter was sent on or after a date one (1) year prior to the filing of this

                action and on or before a date twenty-one (2l) days after the filing of this action.
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    13.      The identities of all class members are readily ascertainable from the records of

 Defendants and those companies and entities on whose behalf they attempt to collect and/or

 have purchased debts.

    14.      Excluded from the Plaintiff Class are the Defendants and all officer, members,

 partners, managers, directors and employees of the Defendants and their respective immediate

 families, and legal counsel for all parties to this action, and all members of their immediate

 families.

    15.      There are questions of law and fact common to the Plaintiff Class, which common

 issues predominate over any issues involving only individual class members. The principal issue

 is whether the Defendants' written communications to consumers, in the forms attached as

 Exhibits A, violate 15 U.S.C. §§ l692e.

    16.      The Plaintiff’s claims are typical of the class members, as all are based upon the same

 facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the

 Plaintiff Class defined in this complaint. The Plaintiff has retained counsel with experience in

 handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff

 nor her attorneys have any interests, which might cause them not to vigorously pursue this

 action.

    17.      This action has been brought, and may properly be maintained, as a class action

 pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

 well-defined community interest in the litigation:

             f. Numerosity: The Plaintiff Class defined above is so numerous that joinder of

                all members would be impractical.
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           g. Common Questions Predominate: Common questions of law and fact exist as

               to all members of the Plaintiff Class and those questions predominance over any

               questions or issues involving only individual class members. The principal issue

               is whether the Defendants' written communications to consumers, in the forms

               attached as Exhibit A violate 15 § l692e.

           h. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

               The Plaintiff and all members of the Plaintiff Class have claims arising out of the

               Defendants' common uniform course of conduct complained of herein.

           i. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

               class members insofar as Plaintiff has no interests that are adverse to the absent

               class members. The Plaintiff is committed to vigorously litigating this matter.

               Plaintiff has also retained counsel experienced in handling consumer lawsuits,

               complex legal issues, and class actions. Neither the Plaintiff nor her counsel has

               any interests which might cause them not to vigorously pursue the instant class

               action lawsuit.

           j. Superiority: A class action is superior to the other available means for the fair

               and efficient adjudication of this controversy because individual joinder of all

               members would be impracticable. Class action treatment will permit a large

               number of similarly situated persons to prosecute their common claims in a single

               forum efficiently and without unnecessary duplication of effort and expense that

               individual actions would engender.

    18.    Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

 is also appropriate in that the questions of law and fact common to members of the Plaintiff
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 Class predominate over any questions affecting an individual member, and a class action is

 superior to other available methods for the fair and efficient adjudication of the controversy.

    19.     Depending on the outcome of further investigation and discovery, Plaintiff may, at

 the time of class certification motion, seek to certify a class(es) only as to particular issues

 pursuant to Fed. R. Civ. P. 23(c)(4).


                                    FACTUAL ALLEGATIONS

    20.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

 numbered above herein with the same force and effect as if the same were set forth at length

 herein.

    21.     Some time prior to March 13, 2021, an obligation was allegedly incurred by Plaintiff

 to T-Mobile, USA.

    22.     The alleged obligation arose out of a transaction involving a debt allegedly incurred

 by Plaintiff with T-Mobile, USA in which the subject of the transaction was primarily for

 personal, family or household purposes, specifically the use of telecommunication services.

    23.     The alleged obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).

    24.     The owner of the alleged obligation is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

    25.     T-Mobile, USA contracted with the Defendant Convergent to collect the alleged

 debt.

    26.     Defendant collects and attempts to collect debts incurred or alleged to have been

 incurred for personal, family or household purposes on behalf of creditors using the United

 States Postal Services, telephone and internet.

                            Violation – March 13, 2021 Collection Letter
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     27.      On or about March 13, 2021, Defendant sent the Plaintiff a collection letter (the

 “Letter”) seeking to collect an alleged debt. See Collection Letter – Attached hereto as

 Exhibit A.

     28.      The letter states a balance of $1,306.94.

     29.      The collection letter further states: “We have been authorized to accept payment of

 40% of the total amount owed, which is $522.78, in exchange for which T-Mobile, USA will

 recall your account and cease all collection activity. If you are interested in taking advantage of

 this offer, call our office within 14 days of the date of this letter. Please note that this is not an

 offer to accept 40% of your debt as payment in full, but an offer for T-Mobile, USA to remove

 your account from further collection efforts. We are not obligated to renew this offer.”

     30.      The letter is deceptive because it implies that in exchange of 40% of the balance the

 consumer will achieve some form of settlement, when in actuality it is unclear what form of

 settlement the letter is offering.

     31.      The letter states that T-Mobile, USA will recall the account and cease all collection

 activity but does not clarify what will occur with the rest of the balance and whether the rest of

 the balance would be collected by another collection company in the future.

     32.      Nor does the letter clearly state that the account will be reinstated upon payment of

 40% of the balance.

     33.      The letter deceives and misleads the consumer by implying that paying 40% would

 achieve results akin to a settlement offer, when in reality the Defendant’s offer contains no

 significant benefits and is unclear to what the benefits of the settlement would actually be.

     34.      In addition, the letter contains a misleading heading stating “Reduced Balance

 Opportunity.”
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     35.       The letter states that Plaintiff can pay 40% of her balance, seemingly without

 reducing the balance beyond the amount that the Plaintiff actually paid.

     36.       Paying 40% of the balance with a result of the other sixty percent of the balance still

 remaining cannot be described as a “Reduced Balance Opportunity,” as the option of paying a

 portion of the balance is always available as a means of reducing a balance.

     37.       Moreover, the letter implies that this offer is expiring which is deceptive because the

 option of paying a portion of the balance never actually expires.

     38.       Defendant's collection efforts with respect to this alleged debt from Plaintiff caused

 Plaintiff to suffer concrete and particularized harm because the FDCPA provides Plaintiff with

 the legally protected right to be not to be misled or treated unfairly with respect to any action

 for the collection of any consumer debt.

     39.       Defendant's deceptive, misleading and unfair representations with respect to its

 collection effort were material misrepresentations that affected and frustrated Plaintiff's ability

 to intelligently respond to Defendant's collection efforts because Plaintiff could not adequately

 respond to the Defendant's demand for payment of this debt.

     40.       Defendant’s actions created an appreciable risk to Plaintiff of being unable to

 properly respond or handle Defendant’s debt collection.

     41.       Plaintiff was confused and misled to her detriment by the statements in the dunning

 letter, and relied on the contents of the letter to her detriment.

     42.       Plaintiff would have pursued a different course of action were it not for the statutory

 violations.

     43.       As a result of Defendant’s deceptive misleading and false debt collection practices,

 Plaintiff has been damaged.
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                             COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                               et seq.

      44.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.

      45.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

      46.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

  misleading representation or means in connection with the collection of any debt.

      47.     Defendant violated said section

              a.      by making a false and misleading representation in violation of §1692e(10);

              b.      by falsely representing the character, amount of legal status of the debt in

      violation of §1692e(2)(A);

              By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

      conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages,

      costs and attorneys’ fees.




                                    DEMAND FOR TRIAL BY JURY


      48.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

  a trial by jury on all issues so triable.




                                        PRAYER FOR RELIEF
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      WHEREFORE, Plaintiff Heather Coryell, individually and on behalf of all others

   similarly situated demands judgment from Defendant Convergent as follows:


      1.       Declaring that this action is properly maintainable as a Class Action and certifying

   Plaintiff as Class representative, and Justin Zeig, esq. as Class Counsel;

      2.       Awarding Plaintiff and the Class statutory damages;

      3.       Awarding Plaintiff and the Class actual damages;

      4.       Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

   expenses;

      5.       Awarding pre-judgment interest and post-judgment interest; and

      6.       Awarding Plaintiff and the Class such other and further relief as this Court may deem

   just and proper.


Dated: June 24, 2021                                 ZEIG LAW FIRM, LLC
                                                          /s/ Justin Zeig
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